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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


 UNITED STATES OF AMERICA

 v.                                               CASE NO. 8:11-cr-366-T-30TBM

 ROGER LEE SHOSS


                    AMENDED FINAL JUDGMENT OF FORFEITURE

        THIS CAUSE comes before the Court upon the filing of the United States’ Motion

 for an Amended Final Judgment of Forfeiture (Doc. 244) pursuant to the provisions of 21

 U.S.C. § 853(n)(7) and Fed. R. Crim. P. 32.2(c)(2), for the following real property:

               The real property, including all improvements thereon and appurtenances
               thereto, located at 139 Haversham Drive, Houston, Harris County, Texas,
               which is legally described as follows:

               The most Northerly 90 feet of Lot Nine (9), in Block Seven (7), of
               WHISPERING OAKS, SECTION THREE (3), a subdivision in Harris County,
               Texas, according to the map or plat thereof recorded in Volume 66, Page 37
               of the Map Records of Harris County, Texas.

 Being fully advised in the premises, the Court finds as follows:

        1.     A trial was held in this case on the charges in the Indictment, and on May 22,

 2012, the Jury found Roger Lee Shoss and co-defendant Nicolette Loisel guilty of the

 conspiracy to commit wire fraud, as charged in Count One of the Indictment. Docs. 135,

 136.

        2.     Following the guilty verdicts, a brief hearing was held during which Shoss

 stipulated to the forfeiture of the Haversham Drive property. The jury entered a Special

 Verdict for Forfeiture finding that the property Shoss stipulated to the forfeiture of the

 Haversham Drive property, and the jury entered a Special Verdict for Forfeiture finding that
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 the property was traceable to proceeds the defendant obtained as a result of the wire fraud

 conspiracy charged in Count One. Doc. 138.

        3.     On July 23, 2012, the Court entered a Forfeiture Money Judgment in the

 amount of $800,000.00 against Shoss, and a Preliminary Order of Forfeiture, forfeiting to

 the United States all of Shoss’s right, title, and interest in the Haversham Drive property.

 Doc. 150.

        4.     On August 9, 2012, Shoss was sentenced and the forfeiture of the

 Haversham Drive property was included in the Judgment. Docs. 158 and 159.

        5.     On October 24, 2012, the United States filed a Motion for Final Judgment of

 Forfeiture for the Haversham Drive property in which evidence was presented that notice

 of the forfeiture and the United States’ intent to dispose of the property was sent to the only

 individuals and entities known to have a potential interest in the Haversham Drive property,

 including Xiao Ping Luo (owner of record), Bank of America, N.A. (mortgage holder), ASI

 Staffing, Inc., and the Harris County Tax Collector. Doc. 197.

        6.     In accordance with 21 U.S.C. § 853(n) and Rule 32.2(b)(6)(C), publication

 also was effected via the official government website. Id.

        7.     Xiao Ping Luo, Bank of America, N.A., ASI Staffing, Inc., and the Harris

 County Tax Collector failed to file a petition to adjudicate interest or claim any interest in

 the Haversham Drive property within the time prescribed by law.

 Although the Tax Collector failed to file a claim, the Government recognizes that, in order

 to pass clear title, it must satisfy any outstanding taxes due and owing, to the extent there

 are any, at the time of sale.



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        8.     After the United States filed its Motion for Final Judgment of Forfeiture, on

 November 12, 2012, Bank of America, N.A., filed a Petition Claiming a Legal Interest in

 Property by virtue of its mortgage, and a Response to the United States’ Motion for Final

 Judgment of Forfeiture. Docs. 202, 203.

        9.     The Court held a hearing on Bank of America’s Petition and determined that

 Bank of America’s late filing of its Petition was due to excusable neglect. Doc. 204.

        10.    Based on the Court’s finding, the United States filed an Amended Motion for

 Final Judgment of Forfeiture, which recognized the interest of Bank of America, N.A., and

 the Harris County Tax Collector, and requested that the Court grant clear title to the United

 States of America, subject to those two interests of record. Doc. 223.

        11.    On January 24, 2013, the Court granted the United States’ motion and

 entered the Final Judgment of Forfeiture, which vested clear title to the Haversham Drive

 property in the United States of America, subject to Bank of America’s mortgage and the

 interest of the Harris County Tax Collector. Docs. 225, 226.

        12.    Defendant Roger Lee Shoss subsequently filed a Notice of Appeal, and on

 July 24, 2012, the decision of the 11th Circuit Court of Appeals (United States v. Roger Lee

 Shoss, Case No. 12-14238) affirmed Shoss’s conviction. Docs. 160, 243.

        Accordingly, it is hereby ORDERED that

        1.     The United States’ motion (Doc. 244) is GRANTED.

        2.     It is FURTHER ORDERED that all right, title and interest of Xiao Ping Luo and

 ASI Staffing, Inc., in the real property located at 139 Haversham Drive, Houston, Harris

 County, Texas are FORFEITED to the United States of America. Accordingly, Xiao Ping

 Luo and ASI Staffing, Inc., have no interest in the Haversham Drive property.

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        3.     Pursuant to 21 U.S.C. § 853(n)(7) and Rule 32.2(c)(2), Federal Rules of

 Criminal Procedure, all right, title, and interest in 139 Haversham Drive, Houston, Texas

 are FORFEITED to the United States of America for disposition according to law, subject

 to the interest of the Harris County Tax Assessor/Collector for any unpaid ad valorem taxes

 and assessments due and owing at the time of sale, and the interest of Bank of America,

 N.A.

        4.     Bank of America, N.A. has a prior vested interest in the Haversham Drive

 property by virtue of a promissory note and Deed of Trust. Bank of America, N.A.'s lien

 rights under the Deed of Trust are superior and senior to those of the United States.

 Therefore, solely from the proceeds of the sale of the Property (to the extent that there are

 sufficient proceeds), after the deduction of the United States' expenses relating to the

 seizure, maintenance, custody, publication, marketing, and sale of the Haversham Drive

 property, including any and all outstanding property taxes and interest due and owing the

 Harris County Tax Collector,      Bank of America, N.A. is entitled to unpaid principal

 ($296,084.14), interest from August 1, 2012 to February 11, 2012 ($9,369.23), a County

 recording fee ($16.00), uncollected late charges ($298.59), other fees ($20.25), and an

 expedited payoff service fee ($30.00) totaling $305,818.21, and interest from February 11,

 2013 to the date of sale at the per diem rate of $48.67.

        The United States will not be responsible for any additional late fees or charges

 other than those described above. Any remaining net proceeds from the sale of the

 Haversham Drive property, after the satisfaction of the priorities listed above, shall be

 forfeited to the United States.



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          Subject to the above interests, clear title to the Haversham Drive property is now

 vested in the United States of America, which may warrant good title to any subsequent

 purchaser or transferee.

          DONE and ORDERED in Tampa, Florida on September 9, 2013.




 Copies to:
 Counsel/Parties of Record
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